                  Case 2:05-cr-00391-RSM       Document 573      Filed 06/16/06     Page 1 of 2


                                                                   JUDGE MARTINEZ
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 5                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 6                                            AT SEATTLE
 7
     UNITED STATES OF AMERICA,              )
 8                                          )
                      Plaintiff,            )                      NO. CR05-391RSM
 9                                          )
                v.                          )
10                                          )                      ORDER CONTINUING TRIAL
                                            )
11   VALENTINO GUY,                         )
                                            )
12                    Defendant.            )
     _______________________________________)
13

14                                                   ORDER
15                In consideration of the Government’s motion for continuance, and the Court being fully
16   advised in the premises, the Court finds and rules as follows: This Court finds as facts those facts
17   set forth in the Government’s First and Second Motions for Continuance filed on behalf of all
18   parties, and those facts set forth in the Motion for Continuance regarding Valentino Guy.
19   Further, the Court finds that given the nature and seriousness of the charges in this case, the
20   voluminous evidence in this case, the need to conduct adequate investigation, to consider
21   defenses, to file any appropriate pre-trial motions, and to prepare for trial, as well as the desire by
22   the parties to adequately explore resolution of this matter, this Court finds that the failure to grant
23   the requested continuance would unreasonably deny the defendants effective assistance of
24   counsel and, despite due diligence by all parties, result in a miscarriage of justice. Further, the
25   Court further finds that given the volume and complexity of the evidence, the duration and extent
26   of the alleged conspiracy, it is unreasonable to expect either the Government or defense counsel
27   to be prepared to go to trial within the time allotted, and a further continuance of trial is
28   warranted. Further, the Court finds that given the current trial date as to the remaining
     CR05-391RSM - 1
     (.RJF/rjf)                                                                              U.S. COURTHOUSE
                                                                                              7TH & STEWART
                                                                                        SEATTLE, WASHINGTON 98102
                  Case 2:05-cr-00391-RSM         Document 573       Filed 06/16/06      Page 2 of 2

     defendants, it is wholly reasonable and appropriate that defendant’s trial should go forward at the
 1   same time, as it will involve much of the same testimony, witnesses, and evidence.
 2                The Court further finds, for the reasons set forth above, that the ends of justice served by
 3   granting the requested continuance outweigh the best interest of the public and the defendant in a
 4   speedy trial. For the foregoing reasons, the Government’s motion for a continuance of trial is
 5   GRANTED. Trial is reset for September 11, 2006. The new motion cut-off date is August 1,
 6   2006. The time from the filing of this motion for continuance, through the new trial date, is
 7   excluded under the Speedy Trial Act, Title 18, United States Code, Sections 3161(h)(7),
 8   3161(h)(8)(A) and (B)(i)(ii) and (iv) as to the defendant.
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                  DATED this 16th day of June, 2006.

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                                                              A
                                                              RICARDO S. MARTINEZ
                                                              UNITED STATES DISTRICT JUDGE
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     CR05-391RSM - 2
     (.RJF/rjf)                                                                                  U.S. COURTHOUSE
                                                                                                  7TH & STEWART
                                                                                            SEATTLE, WASHINGTON 98102
